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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------X
UNITED STATES OF AMERICA,

            - against -                                  MEMORANDUM AND ORDER

ANTHONY JOHNSON,                                          17 Cr. 212 (NRB)

                Defendant.
--------------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


     On    October     30,   2018,   defendant    Anthony      Johnson    was

sentenced to a term of imprisonment of 121 months for a

conviction committed while under supervised release.                ECF No.

90 (“Supplemental PSR”) ¶ 51. Johnson has a projected release

date of April 6, 2026. Id. at 1. At sentencing, the defendant

faced a United States Sentencing Guidelines range of 121-151

months based on a Total Offense Level of 29 and a Criminal

History Category of IV.          Id. at 3.    As part of his Criminal

History computation, the defendant received two additional

points for committing the offense while on supervised release

pursuant    to   the    then-applicable       November    1,    2016     U.S.

Sentencing Guidelines § 4A1.1(d).            Id. at ¶ 51.

     The    United      States    Probation      Department      issued      a

Supplemental Presentence Report indicating that the defendant

is eligible for a status point recalculation and a sentence

reduction pursuant to Amendment 821 to the United States
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Sentencing Guidelines.            ECF No. 90.            Amendment 821, which

went    into    effect      on       November       1,    2023       and    applies

retroactively, provides for a potential recalibration of a

defendant’s sentencing guidelines if he had zero criminal

history points or if he committed the instant offense while

under a criminal justice sentence.                 Mr. Johnson has moved for

a sentence modification pursuant to 18 U.S.C. § 3582(c)(2),

relying on Amendment 821, and seeks a reduced sentence of 108

months, the bottom of the applicable guidelines range.                          The

Government opposes. 1            For the reasons below, plaintiff’s

motion is granted.

       Under   18    U.S.C.      §   3582(c)(2),         this    Court,     “after

considering the factors set forth in section 3553(a),” may

reduce a term of imprisonment if it was “based on a sentencing

range that has subsequently been lowered by the Sentencing

Commission.”        The statute “establishes a two-step inquiry.”

Dillon v. United States, 560 U.S. 817, 826 (2010).                         “At step

one,    §   3582(c)(2)      requires         the    court       to    follow    the

Commission’s instructions in [U.S.S.G.] § 1B1.10 to determine

the prisoner’s eligibility for a sentence modification and

the extent of the reduction authorized,” id. at 827, and


1 On June 7, 2024, the defendant, represented by CJA counsel, filed a

motion for a sentence modification pursuant to 18 U.S.C. § 3582(c)(2),
relying on Amendment 821. See ECF No. 92 (“Mot.”). On July 9, 2024, the
Government opposed defendant’s motion. See ECF No. 94 (“Opp.”). On July
23, 2024, defendant filed his reply. See ECF No. 95 (“Reply”).


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§ 1B1.10 in turn requires the court to “determine the amended

guideline    range      that      would    have    been    applicable      to   the

defendant if the amendment(s) to the guidelines listed in

subsection (d) had been in effect at the time the defendant

was     sentenced”       holding        all     else      constant,      U.S.S.G.

§ 1B1.10(b)(1).         “At step two of the inquiry, § 3582(c)(2)

instructs    a     court     to    consider       any   applicable       § 3553(a)

factors     and    determine       whether,       in    its     discretion,     the

reduction . . . is warranted in whole or in part under the

particular circumstances of the case.”                    Dillon, 560 U.S. at

827.

       Here, the U.S. Probation Department is correct and no

side disputes that the defendant is eligible for a status

point recalculation and a sentence reduction.                        Supplemental

PSR at 2-3.       As the Supplemental Presentence Report details,

under    Amendment      821,      the   defendant       would     only   have   six

criminal history points and would not have any additional

status points for having committed the offense while under a

criminal justice sentence.                Therefore, the defendants Total

Offense Level remains 29, but his Criminal History Category

is III and the applicable U.S.S.G. Guideline Range is 108-

135 months.

       The Court must now consider the § 3553(a) factors and

determine,        in   its   discretion,          whether     a     reduction      is


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warranted.       See Dillon, 560 U.S. at 827.                 These factors

include “the nature and circumstances of the offense and the

history and characteristics of the defendant.”                    18 U.S.C.

§ 3553(a).       The Court may also consider the defendant’s

conduct     since    his   sentence.        U.S.S.G.    §      1B1.10,   cmt.

n. 1(B)(iii).         Johnson     maintains     that     he     has   “taken

significant      steps     towards    leading    a   law-abiding         life”

including       completing        educational        programing          while

incarcerated, participating in mental health and substance

abuse programing, and maintaining contact with family. 2                 Mot.

at 3-5.     He also notes that he has faced harsh conditions due

to COVID-19. 3      Id. at 6.   In response, the Government argues

that the § 3553(a) factors do not warrant a sentence reduction

given the nature of the defendant’s offense and a number of

disciplinary infractions.         See Opp. at 2-3.

      The    Court     commends      Mr.    Johnson’s       efforts      while

incarcerated and strides to take advantage of educational,


2 The defendant has provided the Court and the Government additional
information under seal regarding programming and strides he has taken
while incarcerated that are commendable and, in this Court’s view, reflect
the defendant’s acceptance of the crime and the seriousness of his
offense, and progress towards rehabilitation. While this information has
been presented to the Court under seal, suffice it to say that it
strengthens the Court’s conclusion.
3 While the Court recognizes that the defendant’s incarceration may have

been more difficult due to the COVID-19 pandemic, to be clear, that factor
alone does not tip the scales in favor of a sentence reduction. Indeed,
the effects of the COVID-19 pandemic on Mr. Johnson’s incarceration have
been the subject of two prior decisions denying his motion for
compassionate release and a reconsideration of that motion. See ECF No.
63; see also, United States v. Johnson, No. 17 Cr. 212 (NRB), 2020 WL
6891457 (S.D.N.Y. Nov. 24, 2020).


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work,   and   substance       abuse    programs.          Specifically,        the

defendant’s     participation         in   the   Residential       Drug    Abuse

Program is notable.        The Bureau of Prisons describes this

program as “the Bureau’s most intensive treatment program”

with      “research    findings            demonstrat[ing]         that        RDAP

participants are significantly less likely to recidivate.”

See Substance Abuse Treatment, Federal Bureau of Prisons,

https://www.bop.gov/inmates/custody_and_care/substance_abus

e_treatment.jsp (last visited August 9, 2024).                    In addition,

while   the   Government      is     correct     that    the   defendant        has

received a number of serious disciplinary violations while in

custody, the last violation occurred in August 2022, months

before the defendant was transferred to a new facility and no

additional violations have occurred since then.

       There is no question that the defendant committed a

serious    offense    while    under       supervision     after     a    lengthy

custodial sentence for the same crime.                  The Court’s decision

to sentence the defendant to a term at the bottom of the then-

applicable guidelines was appropriate.                   However, balancing

the § 3553(a) factors including the nature and circumstances

of the offense and the need to afford adequate deterrence,

with    the   significance      of    a    108-month      sentence       and    the

defendant’s conduct since sentencing, the Court finds that a

reduction of the defendant’s sentence from 121 months to 108


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months, at the bottom of the now-applicable guidelines range,

is sufficient, but not greater than necessary, to achieve the

goals of sentencing in this case.

     Accordingly,   this   motion     is   granted    and   defendant’s

sentence is reduced to 108 months.           The Clerk of Court is

respectfully instructed to terminate the motion pending at

ECF No. 91.   An Order Regarding Motion for Sentence Reduction

Pursuant to 18 U.S.C. § 3582(c)(2) will shortly follow this

Memorandum and Order.

SO ORDERED.


Dated:    August 15, 2024
          New York, New York


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                                        NAOMI REICE BUCHWALD
                                    UNITED STATES DISTRICT JUDGE




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